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 8 Attorneys for Defendant

 9
                                   UNITED STATES DISTRICT COURT
10
                                           DISTRICT OF NEVADA
11

12   JAMES HART,                                     )
                                                     )   Case No.: 2:21-cv-01326-BNW
13          Plaintiff,                               )
                                                     )   STIPULATION TO VOLUNTARY
14                  v.                               )   REMAND PURSUANT TO SENTENCE
                                                     )   FOUR OF 42 U.S.C. § 405(g) AND TO
15   KILOLO KIJAKAZI,                                )   ENTRY OF JUDGMENT FOR
     Acting Commissioner of Social Security,1        )   PLAINTIFF
16                                                   )
            Defendant.                               )
17                                                   )
                                                     )
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            IT IS HEREBY STIPULATED by and between the parties, through their undersigned
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     attorneys, and with the approval of the Court, that this action be remanded for further administrative
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     action pursuant to the Social Security Act § 205(g), as amended, 42 U.S.C. § 405(g), sentence four.
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            On remand, the Appeals Council will remand the case to an administrative law judge (ALJ) for
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25  Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to
     1

   Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted, therefore,
26 for Andrew Saul as the defendant in this suit. No further action need be taken to continue this suit by
   reason of the last sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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 1 a new hearing and new decision.

 2          The parties further request that the Clerk of the Court be directed to enter a final judgment in

 3 favor of Plaintiff, and against Defendant, reversing the final decision of the Commissioner.

 4

 5 Dated: November 9, 2021                        Respectfully submitted,

 6                                                OF COUNSEL, OLINSKY LAW GROUP
 7                                                /s/ Hal Taylor
                                                  HAL TAYLOR
 8                                                (*as authorized via email on November 8, 2021)
                                                  Attorney for Plaintiff
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10
     Dated: November 9, 2021                      Respectfully submitted,
11
                                                  CHRISTOPHER CHIOU
12                                                Acting United States Attorney
13                                                /s/ Allison J. Cheung
                                                  ALLISON J. CHEUNG
14                                                Special Assistant United States Attorney
                                                  Attorneys for Defendant
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                                                            IT IS SO ORDERED:
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20                                                          HON. BRENDA N. WEKSLER
                                                            UNITED STATES MAGISTRATE JUDGE
21

22                                                                     11/10/2021
                                                            DATED: ___________________________
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26                                                      2
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 1                                      CERTIFICATE OF SERVICE

 2          I, the undersigned, am a citizen of the United States and am at least eighteen years of age. My

 3 business address is 160 Spear Street, Suite 800, San Francisco, California 94105. I am not a party to

 4 the above-entitled action. On the date set forth below, I caused service of STIPULATION TO
   VOLUNTARY REMAND PURSUANT TO SENTENCE FOUR OF 42 U.S.C. § 405(g) AND TO
 5
   ENTRY OF JUDGMENT FOR PLAINTIFF on the following parties by electronically filing the
 6
   foregoing with the Clerk of the District Court using its ECF System, which provides electronic notice
 7
   of the filing:
 8
           Hal Taylor
 9
           haltaylorlawyer@gbis.com
10         Attorney for Plaintiff

11          I declare under penalty of perjury that the foregoing is true and correct.

12          Dated: November 9, 2021

13
                                                             /s/ Allison J. Cheung
14                                                           ALLISON J. CHEUNG
                                                             Special Assistant United States Attorney
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